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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________              New York
                      District of _________________
                                        (State)
                            23-10063 (SHL)
 Case number (If known): _________________________         11
                                                   Chapter _____                                                                      Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Genesis Global Holdco, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   3 8        4 0 5 8 2 1 9
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              250 Park Avenue South
                                              ______________________________________________                _______________________________________________
                                              Number     Street                                             Number     Street

                                              5th Floor
                                              ______________________________________________                _______________________________________________
                                                                                                            P.O. Box

                                              New    York                NY        10003
                                              ______________________________________________                _______________________________________________
                                              City                              State     ZIP Code          City                      State      ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                              New York
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                        www.genesistrading.com
                                              ____________________________________________________________________________________________________




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Debtor        Genesis Global Holdco, LLC
              _______________________________________________________                                           23-10063 (SHL)
                                                                                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 2 ___
                                                    3 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         Genesis Global Holdco, LLC
               _______________________________________________________                                               23-10063 (SHL)
                                                                                                Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases             No
      filed by or against the debtor
      within the last 8 years?                Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                   District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10. Are any bankruptcy cases                 No
      pending or being filed by a
                                                             See attached Schedule 1
                                              Yes. Debtor _____________________________________________               Affiliate
                                                                                                         Relationship _________________________
      business partner or an
      affiliate of the debtor?                                  Southern District of New York
                                                       District _____________________________________________ When               Date hereof
                                                                                                                                 __________________
      List all cases. If more than 1,                                                                                            MM / DD / YYYY
      attach a separate list.                          Case number, if known ________________________________



 11. Why is the case filed in this           Check all that apply:
      district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have              No
      possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                       Other _______________________________________________________________________________


                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




              Statistical and administrative information




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor      Genesis   Global Holdco, LLC
            _______________________________________________________                                                  23-10063 (SHL)
                                                                                                Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            01/19/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ A. Derar Islim
                                             _____________________________________________                A. Derar Islim
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Interim CEO
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor      Genesis   Global Holdco, LLC
            _______________________________________________________                                            23-10063 (SHL)
                                                                                        Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                         _____________________________________________
                                           /s/ Sean A. O'Neal                                      Date       01/19/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Sean A. O'Neal
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Cleary Gottlieb Steen & Hamilton LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         One  Liberty Plaza
                                         _________________________________________________________________________________________________
                                         Number        Street
                                         New   York
                                         ____________________________________________________            NY
                                                                                                         ____________ 10006
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                                                                                soneal@cgsh.com
                                                                                                __________________________________________
                                         212-225-2000
                                         ______________________________________________________ Email Address
                                         Contact phone


                                          3979267
                                         ______________________________________________________NY
                                                                                                ____________
                                         Bar number                                             State




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                                         SCHEDULE 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the Southern District of New York. The Debtors have moved for joint
administration of these cases for procedural purposes only under the case number assigned to the
chapter 11 case of Genesis Global Holdco, LLC.

   1. Genesis Global Holdco, LLC

   2. Genesis Global Capital, LLC

   3. Genesis Asia Pacific Pte. Ltd.
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CLEARY GOTTLIEB STEEN & HAMILTON LLP
Sean A. O’Neal
Jane VanLare
One Liberty Plaza
New York, New York 10006
Telephone: 212-225-2000
Facsimile: 212-225-3999

Proposed Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                         Chapter 11

 Genesis Global Holdco, LLC, et al.,1                           Case No.: 23-10063 (SHL)

                                     Debtors.                   Joint Administration Pending




          CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
          TO FEDERAL RULES OF BANKRUPTCY PROCEDURES 1007 AND 7007.1

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state as follows:


   1. Genesis Global Holdco, LLC is 100% owned by Digital Currency Group, Inc.

   2. Genesis Global Capital, LLC is 100% owned by Genesis Global Holdco, LLC.

   3. Genesis Asia Pacific Pte. Ltd. is 100% owned by Genesis Global Holdco, LLC.




   1
          The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
          number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
          Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for
          the Debtors is 250 Park Avenue South, 5th Floor, New York, NY 10003.


                                                         2
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 Fill in this information to identify the case and this filing:


 Debtor Name Genesis Global Holdco LLC
             __________________________________________________________________
                                                                            New York
                                                      Southern District of __________
 United States Bankruptcy Court for the: ______________________
                                                                               (State)
 Case number (If known):    23-10063 (SHL)
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    01/19/2023
        Executed on ______________                              /s/ A. Derar Islim
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 A. Derar Islim
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Interim CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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     Fill in this information to identify the case:
     Debtor name Genesis Global Holdco, LLC, et al.
     United States Bankruptcy Court for the: Southern District of New York
     Case number (If known): 23-10063                                                                                                                                  Check if this is an
                                                                                                                                                                        amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured
     Claims and Are Not Insiders                                                        12/15
     A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
     the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
     include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
     among the holders of the 50 largest unsecured claims.
     Name of creditor and complete mailing address,                Name, telephone number, and email                    Nature of the claim (for Indicate if claim Amount of unsecured claim
     including zip code                                            address of creditor contact                          example, trade debts,    is contingent,    If the claim is fully unsecured, fill in only unsecured
                                                                                                                        bank loans, professional unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                                                                        services, and government disputed          claim amount and deduction for value of collateral or
                                                                                                                        contracts)                                 setoff to calculate unsecured claim.

                                                                                                                                                                          Total claim, if     Deduction for   Unsecured
                                                                                                                                                                          partially           value of        claim
                                                                                                                                                                          secured             collateral or
                                                                                                                                                                                              setoff

     Various Lenders as defined in certain Master Digital
                                                                                                                                                           Unliquidated
 1 Asset Loan Agreements entered into with Gemini                  On File                                                     Loan Payable                                                                   $ 765,900,135
                                                                                                                                                            Disputed*
     Trust Company, LLC, as agent for the Lenders

                                                                                                                         Loan Payable/Collateral
 2 On File                                                         On File                                                                                 Unliquidated                                       $ 462,209,125
                                                                                                                                Payable
 3 On File                                                         On File                                                   Loan Payable                  Unliquidated   $ 446,863,828        Undetermined   Undetermined
 4 On File                                                         On File                                                 Collateral Payable              Unliquidated                                       $ 230,023,000
 5 Mirana Corp.                                                    On File                                                   Loan Payable                  Unliquidated                                       $ 151,568,100
 6 Moonalpha Financial Services Limited                            On File                                                   Loan Payable                  Unliquidated                                       $ 150,015,000
 7 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $ 114,507,650
   Coincident Capital International, Ltd.                                                                                Loan Payable/Collateral
 8                                                                 On File                                                                                 Unliquidated                                       $ 112,272,921
   C/O Forbes Hare Trust Company                                                                                                Payable
9 On File                                                          On File                                                   Loan Payable                  Unliquidated                                       $   90,000,000
10 Donut, Inc.                                                     On File                                                   Loan Payable                  Unliquidated                                       $   78,037,054
11 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   75,451,600
12 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   64,912,001
13 Altcoinomy SA                                                   On File                                                   Loan Payable                  Unliquidated                                       $   61,801,095
14 Streami Inc.                                                    On File                                                   Loan Payable                  Unliquidated                                       $   56,766,174
15 Heliva International Corp                                       On File                                                   Loan Payable                  Unliquidated                                       $   55,005,190
16 VanEck New Finance Income Fund, LP                              On File                                                   Loan Payable                  Unliquidated                                       $   53,101,676
17 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   51,785,259
18 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   47,202,205
19 Claure Group LLC                                                On File                                                   Loan Payable                  Unliquidated                                       $   45,857,828
20 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   40,822,287
                                                                                                                         Loan Payable/Collateral
21 On File                                                         On File                                                                                 Unliquidated                                       $   40,266,984
                                                                                                                                Payable
22 On File                                                         On File                                                 Collateral Payable              Unliquidated                                       $   39,787,136
23 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   38,532,747
24 Digital Finance Group                                           On File                                                   Loan Payable                  Unliquidated                                       $   37,907,447
25 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   35,214,334
26 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   32,557,600
27 Plutus Lending LLC                                              On File                                                   Loan Payable                  Unliquidated                                       $   30,003,000
28 Ripio International                                             On File                                                   Loan Payable                  Unliquidated                                       $   27,552,174
29 Winah Securities S.A.                                           On File                                                   Loan Payable                  Unliquidated                                       $   26,896,243
30 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   26,176,466
31 Levity & Love, LLC                                              On File                                                   Loan Payable                  Unliquidated                                       $   25,534,533
32 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   21,622,568
33 Caramila Capital Management LLC                                 On File                                                   Loan Payable                  Unliquidated                                       $   21,561,663
34 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   20,645,334
35 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   20,152,817
36 Big Time Studios Ltd.                                           On File                                                   Loan Payable                  Unliquidated                                       $   20,000,000
37 Cumberland DRW LLC                                              On File                                                 Collateral Payable              Unliquidated                                       $   18,720,061
38 On File                                                         On File                                                   Loan Payable                  Unliquidated                                       $   17,463,057
*Claim amount is estimated and is net of proceeds from foreclosure on certain collateral. GGC disputes whether the foreclosure satisfied applicable law.



Official Form 204                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                Page 1
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Debtor Genesis Global Holdco, LLC, et al.                                                                                                                                         Case number (if known) 23-10063




    Name of creditor and complete mailing address,                   Name, telephone number, and email          Nature of the claim (for Indicate if claim Amount of unsecured claim
    including zip code                                               address of creditor contact                example, trade debts,    is contingent,    If the claim is fully unsecured, fill in only unsecured
                                                                                                                bank loans, professional unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                                                                services, and government disputed          claim amount and deduction for value of collateral or
                                                                                                                contracts)                                 setoff to calculate unsecured claim.

                                                                                                                                                               Total claim, if   Deduction for    Unsecured
                                                                                                                                                               partially         value of         claim
                                                                                                                                                               secured           collateral or
                                                                                                                                                                                 setoff
 39 On File                                                          On File                                          Loan Payable           Unliquidated                                          $   17,246,080
 40 On File                                                          On File                                          Loan Payable           Unliquidated                                          $   15,445,729
 41 Coinhouse                                                        On File                                          Loan Payable           Unliquidated                                          $   14,857,000
 42 Stellar Development Foundation                                   On File                                          Loan Payable           Unliquidated                                          $   13,187,008
 43 On File                                                          On File                                          Loan Payable           Unliquidated                                          $   13,127,878
 44 Bayhawk Fund LLC                                                 On File                                          Loan Payable           Unliquidated                                          $   12,562,500
 45 On File                                                          On File                                          Loan Payable           Unliquidated                                          $   11,292,345
 46 On File                                                          On File                                          Loan Payable           Unliquidated                                          $   10,905,742
 47 On File                                                          On File                                          Loan Payable           Unliquidated                                          $   10,369,828
 48 The Badger Technology Company Holdings, Ltd.                     On File                                          Loan Payable           Unliquidated                                          $   10,245,821
 49 Valour, Inc.                                                     On File                                        Collateral Payable       Unliquidated                                          $   10,239,290
 50 Schnutz Investments LP                                           On File                                          Loan Payable           Unliquidated                                          $   10,148,492

U.S. Dollar balances based off of market prices as of 01/18/2023
** This revised list is being filed to remove certain sensitive, non-public information contained herein.




Official Form 204                                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                    Page 2
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                                      CERTIFICATION OF RESOLUTIONS
                         OF THE SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF
                                       GENESIS GLOBAL HOLDCO, LLC

                   The undersigned, being all the members the Special Committee (the “Special
           Committee”) of the Board of Directors (the “Board”) of Genesis Global Holdco, LLC
           (“Company”), a Delaware limited liability corporation, does hereby certify that the following
           resolutions was adopted by the Special Committee at a meeting of the Special Committee on
           January 19, 2023, upon the request of the Directors, Paul Aronzon and Thomas Conheeney, and
           that the same have not been revoked, rescinded, cancelled, annulled, modified, or amended in
           any manner and are in full force and effect. Capitalized terms used in this certification (this
           “Certification”) that are not otherwise defined herein shall have such meaning as is assigned to
           them in the Amended and Restated Operating Agreement of Genesis Global Holdco, LLC (the
           “LLC Agreement”).

                  WHEREAS, the Special Committee was formed with the purpose and role to (i)
           evaluate, on behalf of the Company or its subsidiaries, various strategic alternatives or
           transactions involving the Company and its subsidiaries that affect the liquidity or balance sheet
           of the Company or its subsidiaries, including, without limitation, the commencement of any
           financing, sale, restructuring, reorganization, liquidations, or other strategic alternatives
           (collectively, the “Special Matters”), and (ii) act on behalf of, and bind, the Company with
           respect to the Special Matters;

                  WHEREAS, the Special Committee has reviewed and had the opportunity to ask
           questions about the materials presented by the management and the legal and financial advisors
           of the Company regarding the liabilities and liquidity of the Company, the strategic alternatives
           available to it and the impact of the foregoing on the Company’s businesses; and

                  WHEREAS, the Special Committee, pursuant to its authority under that certain Genesis
           Global Holdco, LLC Special Committee Charter (the “Special Committee Charter”), desires to
           approve the following resolutions.

            Commencement of Chapter 11 Cases

                   NOW, THEREFORE, BE IT HEREBY,

                   RESOLVED, that the Special Committee has determined, after consultation with the
           management and legal and financial advisors of the Company, that it is desirable and in the best
           interests of the Company, its creditors, and other parties in interest that a petition be filed by the
           Company seeking relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy
           Code”); and be it further

                   RESOLVED, that the Special Committee has determined, after consultation with the
           management and legal and financial advisors of the Company, that it is desirable and in the best
           interests of the Company and its subsidiaries that petitions be filed by Genesis Global Capital,
           LLC (“GGC”) and Genesis Asia Pacific Pte. Ltd. (“GAP,” along with the Company and GGC,
           the “Filing Entities”) seeking relief under the Bankruptcy Code and the Special Committee
           hereby directs the members or board, as applicable, of GGC and GAP to take all necessary and
           appropriate actions to ratify this Certification; and be it further


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                   RESOLVED, that any officer of the Filing Entities (each, an “Authorized Person”), in each
           case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
           power of delegation, to negotiate, execute, deliver, file and perform, in the name and on behalf of the
           Filing Entities, and under its corporate seal or otherwise, all petitions, schedules, motions, lists,
           applications, pleadings, orders and other documents (the “Chapter 11 Filings”) (with such changes
           therein and additions thereto as any such Authorized Person may deem necessary, appropriate or
           advisable, the execution and delivery of any of the Chapter 11 Filings by any such Authorized
           Person with any changes thereto to be conclusive evidence that any such Authorized Person
           deemed such changes to meet such standard); and be it further

                   RESOLVED, that each Authorized Person, in each case, acting singly or jointly, be, and each
           hereby is, authorized, empowered, and directed, with full power of delegation, in the name and on
           behalf of the Filing Entities, to take and perform any and all further acts and deeds that such
           Authorized Person deems necessary, appropriate, or desirable in connection with the chapter 11 cases
           (the “Chapter 11 Cases”), the Chapter 11 Filings or the plan term sheet (the “Plan Term Sheet,”
           attached hereto as Exhibit A), including, without limitation, (i) the payment of fees, expenses and
           taxes such Authorized Person deems necessary, appropriate, or desirable, and (ii) negotiating,
           executing, delivering, performing and filing any and all additional documents, schedules, statements,
           lists, papers, agreements, certificates and/or instruments (or any amendments or modifications
           thereto) in connection with, or in furtherance of, the Filing Entities’ Chapter 11 Cases with a view to
           the successful prosecution of such Chapter 11 Cases (such acts to be conclusive evidence that such
           Authorized Person deemed the same to meet such standard); and be it further

            Retention of Advisors

                   RESOLVED, that the law firm of Cleary Gottlieb Steen & Hamilton LLP, located at One
            Liberty Plaza, New York, New York 10006, has been retained as restructuring counsel for the
            Filing Entities in the Chapter 11 Cases; and be it further

                  RESOLVED, that the firm of Alvarez & Marsal Holdings, LLC, located at 600 Madison
            Avenue, New York, NY 10022, has been retained as financial advisor for the Filing Entities in
            the Chapter 11 Cases; and be it further

                  RESOLVED, that the firm of Moelis & Company LLC, located at 399 Park Avenue, 4th
            Floor, New York, NY 10022, has been retained as financial advisor, capital markets advisor and
            investment banker for the Filing Entities in the Chapter 11 Cases; and be it further

                   RESOLVED, that the firm of Kroll Restructuring Administration, located at 55 East 52nd
            Street, 17th Floor, New York, NY 10055 has been retained as claims, noticing and solicitation
            agent for the Filing Entities in the Chapter 11 Cases; and be it further

                   RESOLVED, that, with respect to the Filing Entities, each Authorized Person, in each case,
            acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
            power of delegation, in the name and on behalf of the Filing Entities, to negotiate, execute, deliver,
            file and perform any agreement, document or certificate and to take and perform any and all further
            acts and deeds (including, without limitation, (i) the payment of any consideration and (ii) the
            payment of fees, expenses and taxes) that such Authorized Person deems necessary, proper, or
            desirable in connection with the Chapter 11 Cases, including, without limitation, negotiating,
            executing, delivering and performing any and all documents, agreements, certificates and/or
            instruments (or any amendments or modifications thereto) in connection with the engagement of
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            professionals contemplated by these resolutions, with a view to the successful prosecution of the
            Chapter 11 Cases; and be it further

            Ratification

                  RESOLVED, that any and all past actions heretofore taken by any Authorized
            Person, any director, or any member of the Filing Entity in the name and on behalf of the Filing
            Entity in furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
            confirmed, and approved in all respects.

                   RESOLVED, that, with respect to the Filing Entities, each Authorized Person, any one of
            whom may act without the joinder of any of the others, hereby is authorized in the name and on
            behalf of the Filing Entities, to take all such further actions, including, but not limited to, (i) the
            negotiation of such additional agreements, amendments, modifications, supplements, reports,
            documents, instruments, applications, notes or certificates not now known but which may be
            required, (ii) the execution, delivery and filing (if applicable) of any of the foregoing and (iii) the
            payment of all fees, consent payments, taxes and other expenses as any such Authorized Person,
            in his or her sole discretion, may approve or deem necessary, appropriate or desirable in order to
            carry out the intent and accomplish the purposes of the foregoing resolutions and the transactions
            contemplated thereby, all of such actions, executions, deliveries, filings and payments to be
            conclusive evidence of such approval or that such Authorized Person deemed the same to be so
            necessary, appropriate or desirable; and be it further

                   RESOLVED, that any and all past actions heretofore taken by any Authorized Person, any
            director, or any member of any Filing Entity in the name and on behalf of the Filing Entity in
            furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
            confirmed, and approved in all respects.



                                                    [Signature Page Follows]




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           IN WITNESS WHEREOF, the undersigned have executed this Certificate as of January 19,
           2023.



           __________________________________
           Paul Aronzon



           __________________________________
           Thomas Conheeney




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